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6

7                    IN THE UNITED STATES DISTRICT COURT
8                  FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10   UNITED STATES OF AMERICA,     )          CASE NO. S 04-467 GEB
                                   )
11                  Plaintiff,     )
                                   )
12        v.                       )          STIPULATION AND ORDER TO
                                   )          EXCLUDE TIME
13   NOE MANZO ALVAREZ &           )
     CARLOS MANZO ALVAREZ,         )
14                                 )
                    Defendants.    )
15   ______________________________)
16        In Court on May 20, 2005 the parties requested and agreed
17   that time beginning May 20, 2005 and extending through the next
18   status conference on July 15, 2005 should be excluded from the
19   calculation of time under the Speedy Trial Act.        The parties
20   stipulate that the ends of justice are served by the Court
21   excluding such time, so that newly retained counsel for defendant
22   Noe Manzo Alvarez may have reasonable time necessary for
23   effective preparation, taking into account the exercise of due
24   diligence, and so that each defendant may have continuity of
25   counsel.   18 U.S.C. § 3161(h)(8)(B)(iv).      In particular, counsel
26   for defendant Noe Manzo Alvarez needs opportunity to review for
27   the first time the discovery in this case, and both defendants
28   need a status conference date that fits the schedules of their

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1    attorneys.     The parties stipulate and agree that the interests of
2    justice served by granting this continuance outweigh the best
3    interests of the public and the defendant in a speedy trial.             18
4    U.S.C. § 3161(h)(8)(A).
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7                                               Respectfully Submitted,
8                                               McGREGOR W. SCOTT
                                                United States Attorney
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10
     DATE: May 20, 2005                  By:     /s/ Matt Segal
11                                              MATTHEW D. SEGAL
                                                Assistant U.S. Attorney
12

13
     DATE: May 20, 2005                          /s/Preciliano Martinez by MDS
14                                              PRECILIANO MARTINEZ
                                                Attorney for Noe Manzo Alvarez
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16
     DATE: May 20, 2005                          /s/Dina Santos by MDS
17                                              DINA SANTOS
                                                Atty for Carlos Manzo Alvarez
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19

20                                              SO ORDERED.
21   Dated:    May 23, 2005
22
                                         /s/ Garland E. Burrell, Jr.
23                                       GARLAND E. BURRELL, JR.
                                         United States District Judge
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